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United States of America \\~.. .':J""`""t-;h,`.~.":'“‘l'c
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V.

Case No.

 

CONSENT TO PROCEED BEFORE UN|'|'ED STATES MAG|STHATE JUDGE

The United States Nlagistrate Judge has explained to me the nature of the
offenselsl_ with which l am charged and the maximum possible penalties which might
be imposed if | am found guilty. The Magistrate Judge has informed me of my right
to the assistance of legal counsel. '

The l\/lagistrate Judge has informed .me of my right to trial, judgment and
sentencing before a United States District Judge.

The Magistrate Judge has also advised me of my right to have at least;thirty
days to prepare for trial. ‘

l HEREBY: Waive (give up) my right to tria|, judgment and sentencing before
a United States District Judge. and l consent to tria|, judgment and
sentencing before a United States Nlagistrate Judge.

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United States Nlagistrate Judge Defendant's Attorne\/{if any)

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Petty Offense

Nlisdemeanor

